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 5
     Attorney for Defendant
 6   CHARLES HEAD
 7
                                IN THE UNITED STATES DISTRICT COURT
 8
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                      )
                                                    )
11                            Plaintiff,            )      No. CR. S-08-0093 FCD
                                                    )
12                                                  )      STIPULATION AND ORDER
                     v.                             )      SETTING BRIEFING SCHEDULE
13                                                  )      AND HEARING DATE
     CHARLES HEAD, et al.,                          )
14                                                  )
                              Defendants.           )
15                                                  )
16           On October 10, 2008, defendant Charles Head filed a motion to dismiss Counts One, Two,
17   Three, Six and Thirteen of the Indictment as charged against defendant Charles Head. The United
18   States of America, through Assistant U.S. Attorney Ellen V. Endrizzi, and defendant Charles Head,
19   through his counsel Scott L. Tedmon, hereby stipulate to the following briefing schedule and hearing
20   date on defendant Charles Head’s motion to dismiss.
21           Government Response:           Due on or before November 24, 2008
22           Defense Reply:                 Due on or before December 8, 2008
23           Non-Evidentiary Hearing:       December 15, 2008 at 10:00 a.m.
24           This schedule will allow adequate time for the government to respond, for the defense to
25   reply, and for the Court to review the pleadings and issues in preparation for the hearing on the
26   motion. Michele Krueger has approved the December 15, 2008 hearing date. No jury trial date has
27   been set in this case.
28           By virtue of the fact that defendant Charles Head has filed a motion that is currently pending

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 1   before this Court, time is excluded under the Speedy Trial Act through the date of the hearing on
 2   the motion pursuant to 18 U.S.C. §3161 (h)(1)(F); [Local Code F]. Additionally, given that no
 3   severance motion has been granted, time is excluded as to all co-defendants pursuant to 18 U.S.C.
 4   §3161(h)(7); [Local Code R]. The parties stipulate and agree that the interests of justice served by
 5   ordering this schedule outweigh the best interests of the public and the defendant in a speedy trial.
 6   18 U.S.C. § 3161(h)(8)(A).
 7             Finally, Scott L. Tedmon has been authorized by counsel to sign this stipulation on their
 8   behalf.
 9   IT IS SO STIPULATED.
10   DATED: November 5, 2008                        McGREGOR W. SCOTT
                                                    United States Attorney
11
                                                     /s/ Ellen V. Endrizzi
12                                                  ELLEN V. ENDRIZZI
                                                    Assistant U.S. Attorney
13
14   DATED: November 5, 2008                        LAW OFFICES OF SCOTT L. TEDMON
15                                                   /s/ Scott L. Tedmon
                                                    SCOTT L. TEDMON
16                                                  Attorney for Defendant Charles Head
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                                                  ORDER
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            GOOD CAUSE APPEARING and based upon the above stipulation, IT IS HEREBY
 4
     ORDERED that the briefing schedule and hearing date for defendant Charles Head’s motion to
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     dismiss is as follows:
 6
            Government Response:           Due on or before November 24, 2008
 7
            Defense Reply:                 Due on or before December 8, 2008
 8
            Non-Evidentiary Hearing:       December 15, 2008 at 10:00 a.m.
 9
            The non-evidentiary hearing on defendant Charles Head’s motion to dismiss will be heard
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     on Monday, December 15, 2008 at 10:00 a.m., before the Honorable Frank C. Damrell, Jr. The
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     Court finds that time is currently being excluded under the Speedy Trial Act based on the filing and
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     pendency of defendant Charles Head’s motion to dismiss pursuant to 18 U.S.C. §3161(h)(1)(F);
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     [Local Code F] through December 15, 2008, the date for hearing on defendant Charles Head’s
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     motion to dismiss. As to the co-defendants, the Court finds that pursuant to 18 U.S.C. §3161(h)(7);
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     [Local Code R] of the Speedy Trial Act, time is excluded as this is a reasonable period of delay to
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     litigate defendant Charles Head’s motion to dismiss and no severance motion has been granted.
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     Finally, the Court finds that the interests of justice served by ordering this schedule outweigh the
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     best interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).
19
            IT IS SO ORDERED.
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     DATED: November 6, 2008
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                                                   _______________________________________
22
                                                   FRANK C. DAMRELL, JR.
23                                                 UNITED STATES DISTRICT JUDGE

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